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                     No. 2022-2090



   United States Court of Appeals
                 for the Federal Circuit



                 KOSS CORPORATION
                       Appellant

                           v.

                 BOSE CORPORATION,
                       Appellee


 Appeal from the United States Patent and Trademark Office,
    Patent Trial and Appeal Board in No. IPR2021-00297

APPELLEE BOSE CORPORATION’S RESPONSE BRIEF

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                       PATENT CLAIMS AT ISSUE

1.    A wireless headphone assembly comprising:
         first and second earphones, wherein each of the first and second
             earphones comprises an acoustic transducer;
         an antenna for receiving wireless signals;
         a wireless communication circuit connected to the antenna, wherein the
            wireless communication circuit is for receiving and transmitting
            wireless signals to and from the wireless headphone assembly;
         a processor in communication with the wireless communication circuit;
            and
         a rechargeable battery for powering the wireless headphone assembly,
         wherein the headphone assembly is configured, with the processor, to
           transition automatically from playing digital audio content received
           wirelessly by the headphone assembly via a first wireless network
           to playing digital audio content received wirelessly by the
           headphone assembly via a second wireless network.
11.   The wireless headphone assembly of claim 1, wherein the processor is
      configured to transition automatically from playing digital audio content
      received wirelessly by the headphone assembly via the first wireless
      network to playing digital audio content received wirelessly by the
      headphone assembly via the second wireless network based on a signal
      strength level for the second wireless network.

12.   The wireless headphone assembly of claim 11, wherein the processor is
      configured to transition automatically from playing digital audio content
      received wirelessly by the headphone assembly via the first wireless
      network to playing digital audio content received wirelessly by the
      headphone assembly via the second wireless network based on whether the
      signal strength level for the second wireless network is above a threshold
      level.




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                          CERTIFICATE OF INTEREST

Case Number:               2022-2090_____________________________________

Short Case Caption:        KOSS Corporation v. Bose Corporation_____________

Filing Party:              Bose Corporation, Appellee_____________

I certify the following information is accurate and complete to the best of my

knowledge.

Date: February 10, 2023                 Signature:     /s/ Michael N. Rader
                                        Name:          Michael N. Rader

   1. Represented Entities. Provide the full names of all entities represented by
      undersigned counsel in this case.

                Bose Corporation

   2. Real Party in Interest. Please provide the full names of all real parties in
      interest for the entities. Do not list the real parties if they are the same as the
      entities.

                None.

   3. Parent Corproations and Stockholders. Provide the full names of all parent
      corporations for the entities and all publicly held companies that own 10%
      more stock in the entities.

                None.

   4. Legal Representatives. List all law firms, partners, and associates that (a)
      appeared for the entities in the originating court or agency or (b) are expected
      to appear in this court for the entities. Do not include those who have already
      entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

                None.

   5. Related Cases. Provide the case titles and numbers of any case known to be
      pending in this court or any other court or agency that will directly affect or

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   be directly affected by this court’s decision in the pending appeal. Do not
   include the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5).
   See also Fed. Cir. R. 47.5(b).

      Koss Corp. v. Bose Corp., 1:20-cv-12193-RGS (D. Mass.);
      Koss Corp. v. PEAG, LLC, 3:21-cv-01177-CAB-JLB (S.D. Cal.);
      Koss Corp. v. Plantronics, Inc. et. al., 4:21-cv-03854-JST (N.D. Cal.);
      Koss Corp. v. Skullcandy, Inc., 2:21-cv-00203-DDB-JCB (D. Utah).

6. Organizational Victims and Bankruptcy Cases. Provide any information
   required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
   cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
   47.4(a)(6).

         Not applicable.




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                      STATEMENT OF RELATED CASES

      The following cases in which U.S. Patent No. 10,368,155 has been asserted

may directly affect or be directly affected by this Court’s decision in this appeal:

           Koss Corp. v. Bose Corp., 1:20-cv-12193-RGS (D. Mass.);

           Koss Corp. v. PEAG, LLC, 3:21-cv-01177-CAB-JLB (S.D. Cal.);

           Koss Corp. v. Plantronics, Inc. et. al., 4:21-cv-03854-JST (N.D. Cal.);

           Koss Corp. v. Skullcandy, Inc., 2:21-cv-00203-DDB-JCB (D. Utah).




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                                 INTRODUCTION

        Koss concedes the Board correctly found most of the challenged claims—

including independent claim 1—unpatentable over the Nakagawa reference. Its

appeal focuses on two dependent claims, and presents the straightforward question

of whether the Board also correctly found that the Rezvani reference discloses a

“headset”1 (rather than a “handset”) that performs the “transition automatically”

element of unpatentable claim 1, from which the two dependent claims depend. The

Board’s factual finding is plainly reasonable, and its unpatentability determination

should be affirmed.

        Rezvani is uniformly directed to a headset with the “transition automatically”

functionality, which Rezvani calls “seamless handoff.” Rezvani’s Title, Abstract

and Summary all explain that the invention is a headset, not a handset. Rezvani uses

the word “headset” more than 80 times, and all of its claims are directed to a

“headset.” As for whether Rezvani’s “headset” performs a “seamless handoff,” that

is precisely what Rezvani’s Abstract says, what its claim 36 recites, and what its

Figure 8 depicts.

        Koss focuses on the appearance of the word “handset” in two paragraphs of

Rezvani, and argues that those paragraphs reserved the “seamless handoff”

functionality for a handset, not Rezvani’s headset. The Board considered Koss’s

1
    Emphasis added throughout.
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argument. It also considered Rezvani’s full context and testimony from Bose’s

technical expert, Dr. Tim Williams, explaining why Rezvani’s isolated references to

“handset” were typographical errors that would have been apparent to persons of

ordinary skill in the art (POSAs) who would have mentally substituted “headset” for

“handset.” The Board had no contrary testimony to consider from Koss’s expert on

the issue because Koss chose not to have him address it. The Board agreed with Dr.

Williams and Bose that Rezvani’s references to “handset” were obvious errors.

Given Rezvani’s plain text and Dr. Williams’ reasoned explanation of how POSAs

would interpret Rezvani, the Board’s conclusion was more than reasonable.

      Koss argues that the Board could have reached a different conclusion and

resolved the typographical-error issue in Koss’s favor. But that is not the question

to be resolved. The relevant question is whether the Board’s finding is supported by

evidence that reasonable minds could find adequate. A review of the record before

the Board confirms that its finding enjoys such support.

      Separately, the Board also found that even if (contrary to fact) Rezvani’s

reference to a “handset” was not an error, Rezvani nonetheless discloses a “headset”

performing a “seamless handoff” because Rezvani includes unambiguous

disclosures of its “headset” doing exactly that. Koss again asks the Court to re-weigh

the evidence, but the Board’s alternative finding is thoroughly reasonable given

Rezvani’s text.


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      Beyond asking the Court to re-weigh the evidence, Koss also tries to

manufacture legal and procedural errors that do not exist. For example, Koss argues

the Board misconstrued the term “transition automatically” when it concluded that

the term encompasses Rezvani’s “seamless handoff.” To the contrary, the Board

applied the parties’ agreed interpretation of “transition automatically,” and its

factual conclusion that the agreed interpretation encompasses Rezvani’s “seamless

handoff” has substantial evidence support. Koss separately argues that the Board

abused its discretion in considering Bose’s reply evidence regarding Rezvani’s typo,

but allowing Bose to submit evidence responsive to an issue the Board identified in

its institution decision and Koss raised in its preliminary and post-institution

responses was a reasonable (indeed, routine) exercise of the Board’s discretion.

      The Board’s findings concerning Rezvani merit affirmance of the Board’s

unpatentability determination. There is, however, an alternative basis for affirmance

as well because claims 11-12 are also anticipated by a different reference: Pelland.

      Koss does not dispute that, if Pelland is prior art, it anticipates claims 11-12.

The sole dispute below—whether Pelland is prior art—turned on whether the

common specification in the ’155 patent’s priority chain provides written-

description support for Koss’s claims. The Board’s finding that it provides such

support is not grounded in substantial evidence. The Court need not necessarily

consider this issue, but it nonetheless provides an alternative basis for affirmance.


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                            STATEMENT OF THE ISSUES

      1.     Whether substantial evidence supports the Board’s finding that Rezvani

discloses a “headset” that meets the “transition automatically” limitation where

Koss’s counterarguments rely on an obvious typographical error.

      2.     Whether substantial evidence supports the Board’s finding that even if

(contrary to fact) Rezvani did not include an obvious typo, it nonetheless discloses

a “headset” that meets the “transition automatically” limitation where other passages

in Rezvani explicitly describe a “headset” performing such a transition.

      3.     Whether, as an alternative basis for affirmance, substantial evidence

supports the Board’s written-description finding underlying its conclusion that

Pelland is not prior art.




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                           STATEMENT OF THE CASE

A.    THE ’155 PATENT

      1.     Koss’s purported invention.

      The ’155 patent claims, via a chain of continuation applications, an April 2008

effective filing date. Appx154 (1:5-30).

      The patent relates to wireless headphones and discloses a wireless earphone

that streams audio “via ad hoc wireless networks and infrastructure wireless

networks,” and “transitions seamlessly” from an ad hoc network to an infrastructure

network when the earphone loses it connection to the ad hoc network. Appx154-

156 (2:55-58, 4:56-5:27). Once its ad hoc network connection is lost, the earphone

transitions “automatically and seamlessly, without user intervention,” to receiving

audio via an in-range infrastructure network. Appx154-156 (2:55-3:3, 5:9-27).

      The patent defines an “ad hoc wireless network” as one (such as Bluetooth)

over which devices “communicate directly and wirelessly, without using an access

point.” Appx155 (3:3-6, 4:56-61). By contrast, infrastructure wireless networks use

“access points to allow a wireless capable device, such as the wireless earphone, to

connect to a computer network.” Appx155 (3:6-11). Home WiFi networks, for

example, are infrastructure networks because home WiFi routers are access points

connecting wireless devices (e.g., laptops) to the Internet.




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      The patent’s earphone communicates with a digital-audio player (DAP), e.g.,

iPod, over an ad hoc network like Bluetooth.         Appx154-155 (1:42, 4:26-36,

4:56-66); Appx160 (14:13-14). The DAP transmits audio to the earphone over the

ad hoc network when the devices are “in range” of one another via that network,

e.g., when they are in “close proximity.” Appx155-156 (4:56-5:8).

      When the devices go out of range of the ad hoc network (e.g., a user wearing

the earphone leaves the DAP on a table and walks too far away to maintain a

Bluetooth connection), both the earphone and the DAP “transition automatically to

communicate over an infrastructure wireless network” that is in range of both

devices. Appx156 (5:9-22). The transition to that infrastructure network occurs

“automatically and seamlessly, e.g., without user intervention.” Id.

      Koss now concedes that wireless headphones that “transition automatically”

from one network to another were known. For example, Koss no longer disputes

that the Nakagawa reference discloses a headphone that transitions automatically

from one ad hoc network to another. Appx14-39. The only issue Koss currently

disputes is whether the Board reasonably interpreted Rezvani to also disclose a

headset that performs an automatic transition.




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         2.    The challenged claims.

         Bose challenged claims 1-14. Appx188. Koss concedes that claims 1-10 and

13-14 are unpatentable. This appeal focuses on claims 11-12, which depend from

unpatentable claim 1. Koss Br. 11, 20.

         Claim 1 recites a “wireless headphone assembly” comprising conventional

components, including a “processor.” Appx162. Claim 1’s last limitation recites:

         [1.g2] wherein the headphone assembly is configured, with the
         processor, to transition automatically from playing digital audio
         content received wirelessly by the headphone assembly via a first
         wireless network to playing digital audio content received wirelessly
         by the headphone assembly via a second wireless network.

Appx162.

         As Bose’s emphasis highlights, [1.g] contains the “transition automatically”

element central to Koss’s appeal. Claims 11-12 further narrow that “transition,” but

Koss has never disputed that claims 11-12 stand or fall with claim 1.

         3.    The prosecution history.

         During prosecution, Koss argued that the prior art cited in an initial rejection

failed to disclose [1.g], and the examiner subsequently allowed the claims without

comment. Appx1159-1172; Appx1219-1226; Appx1232-1234. Of course, Koss

now concedes that at least Nakagawa discloses [1.g] and renders (in combination

with other prior art) claims 1-10 and 13-14 obvious.


2
    Both parties call the “wherein” clause limitation [1.g]. Appx7; Koss Br. 4-5.

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        Although the prosecution of the ’155 patent is only marginally relevant,

admissions Koss made during prosecution of related patents are more relevant to the

typographical-error issue central to Koss’s appeal and to the Board’s finding that

Rezvani’s “seamless handoff” satisfies [1.g]’s “transition automatically” element.

        The ’155 patent claims priority to PCT/US2009/039754 (“PCT Application,”

Appx1754-1798), filed in April 2009. The patent that issued from the European

National Phase of the PCT Application is EP 2,272,259 (“’259 patent,” Appx1828-

1862).

        During prosecution of the ’259 patent, the European Patent Office (EPO)

found that Rezvani anticipates claims including a narrower version of [1.g].3

Appx1867-1870 (then-pending European claims); Appx1883-1889 (defining

Rezvani as “D1”). According to the EPO, Rezvani discloses a “headset” that

“perform[s] a handoff between [a] mobile phone connection and a wi-fi

connection.” Appx1886 (emphasis original).




3
    The claims were narrower because, for example, they restricted the “transition

automatically” element to transitions that occur when the earphone is out of

communication range with a DAP, whereas limitation [1.g] is generic as to what

triggers the transition. Appx1867.


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      Koss acquiesced to the EPO’s rejection and rewrote its pending claims in “two

part form with respect to [Rezvani].” Appx1892. As the EPO earlier explained,

EPC Rule 43(1)(a)-(b) requires separating the prior art from the invention in a claim

by the word “characterized.” See Appx1887. In re-writing its claim in two-part

form, Koss conceded that Rezvani discloses the subject matter before the word

“characterized.” Koss thus conceded that Rezvani discloses an “earphone,” i.e.,

headset, that “transition[s] automatically” from one network to another when the

first network is out of range. Appx1896.

      Koss also amended its European specification to describe Rezvani as a

“wireless multimedia headset having peer-to-peer networking capability and which

is configured for convenient hand off between multiple wireless interfaces.”

Appx1829 ([0003]); see also Appx1891-1894.

      Koss’s European admissions highlight that, prior to this case, Koss itself (and

the EPO) interpreted Rezvani to disclose that a headset, not a handset, performs a

“handoff” between wireless networks, and that [1.g]’s “transition automatically”

element encompasses such a handoff.




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B.     PROCEDURAL HISTORY BEFORE THE BOARD

       1.    Bose’s Petition and its cited prior art.

       Bose’s Petition included three main grounds, each based on one of Rezvani

(Appx2470-2487), Nakagawa (Appx2569-2582), and Pelland (Appx1907-1953).

Appx188. Only the Rezvani and Pelland grounds remain relevant.4 Koss Br. 20.

             a.     Rezvani and the “transition automatically” limitation.

       Rezvani discloses a “wireless multi-media headset” that performs “seamless

handoff between multiple wireless interfaces” like cellular and WiFi. Appx2470

(Abstract). The headset has “[m]ultiple wireless systems” that allow it to operate

using different wireless interfaces. Appx2481 ([0019]); Appx2471 (Fig. 1).

       Rezvani omits certain implementation details for its headset (e.g., whether it

has a headband or uses earbuds), but Bose’s Petition explained that POSAs had

reasons to implement Rezvani’s headset using any of several well-known designs.

E.g., Appx212-213; Appx224-225. Koss no longer disputes that POSAs had reasons

to pursue the various Rezvani-based combinations Bose advanced below.




4
    Bose’s Petition did not argue that Nakagawa renders claims 11-12 obvious.

Appx240-264.


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      Koss’s appeal focuses on limitation [1.g]’s “transition automatically”

element. For that element, Bose pointed to the “seamless handoff” that Rezvani’s

headset performs.     Specifically, Rezvani’s Figure 8 depicts “headset 805”

performing “simultaneous operation and seamless handoff”:




      To “support simultaneous operation,” Rezvani’s headset has multiple

antennas. Appx2484 ([0040]). Figure 8 depicts “headset 805” with multiple

antennas (810-1 to 810-N) that allow the headset to perform “simultaneous operation

over a cellular system and a Wifi system.” Appx2484 ([0041]).




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      Rezvani further explains that, “[i]n addition to simultaneous operation,” its

headset can “support seamless handoff between two systems,” e.g., it “could switch

a VoIP call from a wide-area wireless network such as Wimax or 3G to a local area

network such as Wifi.” Appx2484 ([0041]); Appx2485 ([0050]) (similar). A

“seamless handoff of a VoIP call between a cellular and Wifi system,” Rezvani

explains, is illustrated in Figure 8, which depicts “headset 805” performing the

handoff. Appx2484 ([0041]); Appx2485 ([0050]).

      In addition to Figure 8 and its accompanying disclosure, Rezvani also includes

a claim explicitly reciting a “headset” with “means for seamless handoff” between

two different wireless systems. Appx2486 (claim 36). Rezvani’s Abstract likewise

summarizes the “invention” as including “a multiple-antenna wireless multimedia

headset with…seamless handoff between multiple wireless interfaces.” Appx2470.

      Bose’s Petition argued that Rezvani’s disclosure of a headset performing a

“seamless handoff” of a VoIP call between two wireless networks met [1.g]’s

“transition automatically” element. Appx219-220. As Bose explained, the ’155

patent describes “automatic” transitions as ones that occur “without user

intervention.” Appx220 (citing Appx154-156 (2:65-66, 3:1-3, 5:21-22)). Bose then

explained, citing testimony from Dr. Williams and corroborating prior art, that

POSAs understood Rezvani’s “seamless” handoff to be an “automatic” transition

because the headset itself, not the user, causes the transition to occur. Appx220


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(citing Appx1375-1376 (¶¶ 138-139)); Appx2980 ([0037]). Bose also noted that

Koss admitted before the EPO that Rezvani discloses a narrower version of [1.g],

including its “transition automatically” element.            Appx220 (citing Appx1839;

Appx1377 (¶¶ 140-141)).

             b.     Pelland and the challenged claims’ priority date.

      Bose separately argued that Pelland anticipates each challenged claim,

including claims 11-12. Pelland is the publication of the PCT Application to which

the ’155 patent claims priority. Pelland’s disclosure is substantively identical to that

of the ’155 patent itself, and Koss never disputed that—if prior art—Pelland

anticipates all challenged claims. Appx201-208; Appx505-508; Appx53.

      The ’155 patent is the eighth in a string of continuations, each sharing a

common specification (collectively, the “Priority Applications”). For the Pelland

ground, the issue was whether the ’155 patent is entitled to claim priority through

the Priority Applications, or whether, as Bose argued, the challenged claims are

entitled to priority no earlier than the ’155 patent’s 2018 filing date because the

Priority Applications fail to provide adequate written-description support for

limitation [1.g]. Appx195-201.

      In its Petition, Bose explained that [1.g] was broadly written to capture subject

matter the Priority Applications do not describe. Bose (and Dr. Williams) explained

that the Priority Applications’ common specification describes the “invention” as a


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headphone with the ability to receive audio from a digital-audio player via one

network and, when out of range of that network, transition automatically to

receive audio via a different network. Appx196-200; Appx1329-1332 (¶¶ 95-96).

As Bose and Dr. Williams explained, the only event the specification identifies as

triggering the headphone to “transition automatically” from one network to another

is the headphone losing its initial network connection with the data source.

Appx197-199; Appx1329-1332 (¶¶ 95-96). Bose and Dr. Williams also explained

that the specification’s limited disclosure is consistent with the claims of Koss’s

initial PCT Application, first U.S. patent, and first European counterpart patent, each

of which claimed transitioning automatically “when the data source is not in wireless

communication range with the earphone via the [initial] ad hoc wireless network.”5

Appx1775; Appx1825; Appx1839; see also Appx185; Appx193-194.

        In contrast to the “invention” described in the specification and claimed in

Koss’s original patents, limitation [1.g] is generic as to what triggers the headphone

to “transition automatically” from one network to another. As Bose explained, in

suing alleged infringers, Koss argued that [1.g] covers transitions to a second

network that occur, not because the first network connection is lost, but because the

audio that the second network transmits, e.g., a phone call, has higher priority than

the audio the first network transmits, e.g., a movie. Appx186; Appx3782-3788. As


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    The other continuations’ claims address different subject matter. Appx1330-1332.

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Dr. Williams confirmed, such audio-priority transitions are nowhere contemplated

in the Priority Applications. Appx1330-1332 (¶ 96).

        Because Koss broadened [1.g] beyond the “invention” disclosed in the

Priority Applications, Bose argued that the challenged claims are not entitled to the

benefit of those earlier dates and Pelland is anticipatory prior art. Appx195-208.6

        2.    The pre-trial proceedings and institution decision.

        In its pre-institution response, Koss seized on the fact that paragraphs 41 and

50 of Rezvani literally use the word “handset”:

        In addition to simultaneous operation, the handset can support seamless
        handoff between two systems. For example, the handset could switch
        a VoIP call from a wide-area wireless network such as Wimax or 3G to
        a local area network such as Wifi.

Appx2484-2485; see also Appx345-346. Koss argued Rezvani lacks [1.g] because

its “seamless handoff” is performed by a handset, not a headset. Appx344-347.

        For Pelland, Koss argued it was not prior art because the Priority Applications

adequately support the challenged claims.           Appx333-334.     Addressing Bose’s

contention that the Priority Applications only describe lost network connections as

triggering the claimed automatic transition, Koss noted (without explanation) that

they also describe transitioning when the network connection “is out of range,” “not


6
    Bose also argued support was lacking for transitions other than from ad hoc to

infrastructure networks. Appx199-200. Bose no longer pursues that argument.


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available,” not “suitable,” or below a “threshold minimum signal strength level.”

Appx335 (citing Appx156-160 (5:26, 5:27, 6:18, 11:32-12:2, 13:7-19)).

       Bose filed a pre-institution reply explaining that Rezvani paragraph 41’s

reference to a “handset” was “clearly a typographical issue” given that the paragraph

describes Figure 8, which only depicts a headset 805. Appx384. Bose also pointed

out numerous other disclosures in Rezvani—disclosures Koss never addressed—that

teach a headset performing the “seamless handoff,” thus underscoring the

typographical nature of paragraph 41’s reference to a “handset.” Id. (citing, e.g.,

Rezvani’s Abstract and claim 36).

       The Board instituted trial. Appx408-460. For Rezvani, the Board explained

it could not resolve the typo issue at institution, but instructed the parties that: “[a]fter

a full trial this issue will be decided.” Appx446. It then instituted IPR on the

Rezvani grounds because it found that, regardless of any “typo,” Bose had identified

a sufficient number of other disclosures in Rezvani showing that Rezvani’s headset

performs [1.g]’s “transition automatically” element. Appx446-447.

       The Board, however, “preliminarily” agreed with Koss that the Priority

Applications supported the challenged claims, and that Pelland was thus not prior

art. Appx458. It nonetheless instituted IPR on the Pelland ground pursuant to

SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348 (2018).




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      3.     The trial proceedings.

             a.    Koss’s patent owner response.

      Koss filed a post-institution response and a declaration from its expert, Joseph

McAlexander. Appx493-538; Appx8762-8789.

                   (1)     Koss makes the strategic decision not to address
                           Rezvani’s typographical error.

      Koss and its expert argued that, because Rezvani’s paragraphs 41 and 50 use

the word “handset,” Rezvani fails to disclose a “headset” that performs the seamless

handoff.    Appx510-512; Appx8783-8785 (¶¶ 47-51).               Despite the Board’s

instruction that the “typo” issue was to be addressed at trial (Appx446), Koss and its

expert never addressed it. Likewise, Koss did not ask Dr. Williams a single question

about the issue at his first deposition. Appx8830-8888.

      Koss also argued POSAs would not have moved the “seamless handoff”

functionality from Rezvani’s handset to its headset, an argument premised on

misreading paragraphs 41 and 50 as disclosing a handset performing the handoff.

Appx512-514; Appx8786 (¶¶ 54-56). The argument was puzzling as it was directed

at an obviousness theory Bose never advanced. Bose always maintained that

Rezvani’s “headset” performs the “seamless handoff,” so there was no need to

modify the “headset” to include that functionality.




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                  (2)     Koss’s expert fails to address the Pelland ground.

      As for Pelland, Koss largely repeated the arguments from its pre-institution

response. Appx505-507. Despite written description being a fact question, Koss’s

expert did not address Bose’s Pelland ground at all. Appx8762-8789.

               b. Bose’s Reply.

      Bose filed a Reply supported by a second declaration from Dr. Williams.

Appx545-585; Appx7787-7821.

                  (1)     Bose and Dr. Williams explain why Rezvani contains
                          an obvious typographical error.

      For Rezvani, Bose explained POSAs would have interpreted Rezvani’s

references to “handset” in paragraphs 41 and 50 as obvious typographical errors

given Rezvani’s overall context, and that POSAs would have read the paragraphs to

disclose that a “headset” performs the “seamless handoff.” Appx568-574.

      As Bose explained, Rezvani is focused on a novel headset, not a handset.

Appx571. Its title is “High Fidelity Multimedia Wireless Headset.” Appx2470. Its

Abstract describes a “headset” performing “seamless handoff.” Appx2470. Its

claim 36 recites a “headset” with “means for seamless handoff.” Appx2486. And

its Figure 8 depicts “seamless handoff” being performed by “headset 805.”

Appx2478. Outside of paragraphs 41 and 50, Bose explained, Rezvani consistently

describes its invention as a “headset.” Appx571 (citing Appx2481 ([0015]-[0019]);

Appx7797-7799 (¶ 21)).

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      By contrast, Bose explained, a “handset” is not mentioned in the claims,

Abstract or Summary, and is described as an optional device for use with the headset.

Appx571 (citing Appx2482-2483 ([0023], [0033]); Appx7796-7797 (¶ 19)). Dr.

Williams confirmed that POSAs would have read Rezvani as a whole to disclose a

headset—not a handset—that performs seamless handoff. Appx7795 (¶ 16).

      Although paragraphs 41 and 50 say a “handset” performs “seamless handoff,”

Dr. Williams explained why the paragraphs themselves make the incorrect nature of

that statement apparent. Appx7795-7799 (¶¶ 17-22). Paragraph 41 says Figure 8

illustrates embodiments involving “headset 805.” Appx2484. The paragraph then

says the “headset” has antennas allowing it to connect to different networks, which

is consistent with paragraph 40’s teaching that the “headset may advantageously

support simultaneous operation on…different wireless interfaces.”          Appx2484;

Appx7795-7796 (¶ 18).

      Paragraph 41 goes on to say: “In addition to simultaneous operation, the

handset can support seamless handoff between two systems.” Appx2484. This

abrupt reference to a “handset,” Dr. Williams explained, is an obvious error, as the

antecedent basis for the “simultaneous operation” in the sentence is the simultaneous

operation that paragraphs 40-41 both say the “headset” performs. Appx7796-7797

(¶ 19). Notably, before this sentence, Rezvani never describes a “handset” with the

ability to support “simultaneous operation.” Id.


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      Dr. Williams further explained that Figure 8, which paragraph 41 describes,

only depicts a “headset” performing both the “simultaneous operation” and the

“seamless handoff,” and that this depiction reinforces his opinion that “handset” in

paragraph 41 is a typo. Appx7797 (¶ 20). He also explained that paragraph 50 has

the same typo that is apparent for the same reasons. Appx7799 (¶ 22).

      Finally, Dr. Williams separately explained that even if paragraphs 41 and 50

were intended to say “handset,” “those sentences do not erase and do not create

ambiguity in the several additional, unambiguous disclosures in Rezvani of the

‘headset’ executing the automatic transition between two wireless networks.”

Appx7792 (¶ 8) (emphasis original). He walked through those disclosures in detail.

Appx7792-7794 (¶¶ 9-14). He thus established that, even if (contrary to fact) there

was no typo, Rezvani still discloses a headset performing a “seamless handoff.”

                    (2)    Bose and Dr. Williams explain why Koss’s lone
                           argument regarding Pelland is wrong.

      For Pelland, Bose explained that the only disclosure(s) Koss pointed to in the

Priority Applications as purportedly demonstrating that the applicants possessed

headphones that automatically transition a network connection for reasons other than

a lost connection were disclosures stating that the transition occurs when a network

is “out of range,” not “suitable,” or its signal degrades below a “suitable threshold.”

Appx578. But, as Dr. Williams confirmed, those additional disclosures all describe

the same thing: a lost network connection. Appx579; Appx7813-7815 (¶¶ 47-51).

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Far from showing that the applicants possessed the broad transition of [1.g], Koss’s

citations underscore the limited “invention” the applicants actually possessed.

Appx579.

            c.     Koss’s Sur-Reply.

      Koss filed a Sur-Reply in which it faulted Dr. Williams for not contacting

Rezvani’s inventors to determine the “source and/or veracity of the alleged typos.”

Appx628. It also argued that Dr. Williams’ testimony regarding Rezvani’s typo was

improper because it should have been included in his opening declaration.

Appx631-633. For Pelland, Koss did not dispute that the Priority Applications only

describe performing an automatic transition when an original network connection is

lost, but argued it was entitled to claim an invention “broader than the specific

embodiment disclosed in the specification.” Appx637.

      4.    The final written decision.

      The Board’s final written decision found Bose had satisfied its burden of proof

for its Rezvani-based grounds but not for its Pelland-based ground.

            a.     The Board agrees with Bose that Rezvani has a typo.

      The Board began its analysis of Rezvani by agreeing with Bose that Rezvani’s

reference to “handset” in paragraphs 41 and 50 is a typo. Appx41. The Board found

that POSAs would have mentally replaced the incorrect term “handset” with the right

term “headset.” Appx41-43.



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      The Board found persuasive that paragraphs 41 and 50 both describe Figure

8, which “clearly labels ‘headset 805,’” and that paragraph 41 first “references ‘a

headset 805’ before referring to ‘the handset.’” Appx42-43 (emphasis original). In

other words, the antecedent basis for “the handset” was plainly “headset 805.” The

Board further observed that Rezvani’s remaining description “universally refers” to

a headset, not a handset. Appx43. Given these facts, the Board found that “‘handset’

was an ‘obvious typographical error’ that ‘would be apparent to one of ordinary skill

in the art.’” Appx43 (quoting In re Yale, 434 F.2d 666, 668-69 (C.C.P.A. 1970)).

      The Board also agreed with Bose that, even if paragraphs 41 and 50 had no

errors, the absence of errors would “not create ambiguity in the several additional,

unambiguous disclosures in Rezvani of the ‘headset’ executing the automatic

transition between two wireless networks.” Appx44 (quoting Appx7791-7792 (¶ 8)).

      Having determined that Rezvani discloses a “headset” performing a “seamless

handoff,” the Board rejected Koss’s contention that such a handoff fails to satisfy

[1.g]’s “transition automatically” element. As the Board explained, the parties

agreed that “automatic” means “without user intervention,” and the Board found a

“seamless handoff” is a transition that occurs without user intervention. Appx13.

The Board approvingly cited Bose’s evidence confirming that a “seamless handoff”

occurs without user input.       Appx11-12 (citing Appx2994 ([0278]-[0279]);

Appx1376 (¶ 139); Appx7760 ([0006]); Appx7780 ([0047]); Appx7804 (¶ 31)).


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             b.    The Board concludes that Pelland is not prior art.

      Having found the challenged claims unpatentable (most on multiple grounds),

the Board proceeded to address Bose’s Pelland ground, concluding that Pelland was

not prior art because the challenged claims had written-description support in the

Priority Applications.    Appx51-60.       According to the Board, the Priority

Applications identified the loss of network connection as one “example” why the

headphone would transition automatically to another network, but did not convey to

POSAs that the invention was limited to that example. Appx55-58.

      The Board focused on a passage describing the headphone as selecting, from

among multiple available networks, the one with the “highest priority.” Appx55;

Appx1920-1921 (12:24-13:19). According to the Board, POSAs would not “have

required more than the lost connection example plus the suggestion that network

priority would also be a consideration” to understand that the applicants possessed

the broad invention recited in [1.g]. Appx58-59. The Board, however, never

addressed Dr. Williams’ testimony explaining that the selection of a network with

the “highest priority” only occurs after the original network connection is lost

(Appx7808-7810 (¶¶ 39-42)); in other words, the “priority” disclosure concerns

selection of a second network to which the headphone will transition—not whether

the headphone should make a transition in the first place.




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                       SUMMARY OF THE ARGUMENT

      This Court should affirm the Board’s determination that claims 11-12 are

unpatentable. The Board’s determination rests on two factual findings regarding

what Rezvani teaches. Specifically, the Board found that (i) Rezvani discloses a

“headset” that performs a “seamless handoff,” and (ii) Rezvani’s “seamless handoff”

meets the parties’ agreed construction for [1.g]’s “transition automatically” element.

Substantial evidence supports both findings.

      On the first factual finding, there are two independent bases for affirmance.

      To start, the Board’s conclusion that the reference to a “handset” performing

a “seamless handoff” in Rezvani’s paragraphs 41 and 50 was a typographical error

is a reasonable interpretation of Rezvani.          The Board considered Rezvani’s

disclosures as well as testimony from Bose’s expert, Dr. Williams, regarding those

disclosures. Based on its reasoned evaluation of the evidence, the Board concluded

that the reference to a “handset” performing a “seamless handoff” in paragraphs 41

and 50 was a typo and that the intended word was “headset.”               The Board’s

conclusion has ample factual support in the record, and should be affirmed. Infra

pp. 28-37. Koss’s contention that this Court’s precedent required the Board to

ignore Rezvani’s disclosure entirely, rather than read it as POSAs would have (i.e.,

with any typos corrected), contradicts the very cases Koss cites. Infra pp. 58-61.




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      Separately, the Board also reasonably found that even if (contrary to fact)

paragraphs 41 and 50 were error-free, Rezvani would still disclose a “headset” that

performs a “seamless handoff.” Rezvani’s Abstract, claim 36, and Figure 8 each

state expressly that the “headset” performs a “seamless handoff.” Affirmance of the

Board’s finding that Rezvani’s “headset” performs a “seamless handoff” is proper

for this reason as well. Infra pp. 37-47.

      As for the Board’s second factual finding—that “transition automatically”

encompasses “seamless handoff”—Koss argues the Board committed legal error by

misinterpreting “transition automatically.” To the contrary, the Board applied the

parties’ agreed construction of that term, i.e., a transition that occurs without user

intervention. And the Board’s subsequent factual determination that the agreed

construction encompasses Rezvani’s “seamless handoff” enjoys ample support, as

Bose introduced evidence uniformly confirming that a “seamless handoff” is one

that occurs without user intervention. Infra pp. 47-53.

      Koss’s attempt to manufacture procedural errors in the Board’s analysis also

fails; the Board acted well within its discretion by permitting Bose to submit reply

evidence that responded to issues the Board identified in its institution decision and

Koss raised in its preliminary and post-institution responses. Infra pp. 53-58.




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      Finally, although the Court need not reach the issue, Bose’s Pelland-based

ground provides an alternate basis for affirmance. The Priority Applications disclose

earphones that transition from one wireless network to another only when

connection to the first network is lost. The claims, by contrast, broadly cover

transitions that occur for any reason—for instance because higher priority audio

(e.g., a phone call) is available over a second network. Because the Priority

Applications never mention audio-priority transitions, or for that matter any

transition not triggered by lost connections, the claims lack written-description

support in those applications, making Pelland anticipating prior art. The Board’s

contrary decision should be reversed. Infra pp. 63-68.




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                              STANDARD OF REVIEW

      What the prior art discloses—including whether a reference includes a

typographical error—is a factual finding reviewed for substantial evidence support.

LG Elecs. Inc. v. ImmerVision, Inc., 39 F.4th 1364, 1371 (Fed. Cir. 2022).

      “The substantial evidence standard asks whether a reasonable fact finder

could have arrived at the agency’s decision.” Id. at 1371 (cleaned up). “[W]here

two different, inconsistent conclusions may reasonably be drawn from the evidence

in record, an agency’s decision to favor one conclusion over the other is the epitome

of a decision that must be sustained upon review for substantial evidence.”

In re Jolley, 308 F.3d 1317, 1329 (Fed. Cir. 2002).

      “Decisions related to compliance with the Board’s procedures are reviewed

for an abuse of discretion,” which occurs, for example, if the Board’s decision “is

clearly unreasonable.” Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821

F.3d 1359, 1367 (Fed. Cir. 2016) (quotations omitted).

      For claims to be entitled to an earlier-filed application’s filing date, the earlier-

filed application must provide written-description support for the later-filed claims.

Tronzo v. Biomet, Inc., 156 F.3d 1154, 1158 (Fed. Cir. 1998). Written description

is a fact question. Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351

(Fed. Cir. 2010) (en banc).




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                                  ARGUMENT

A.    THE BOARD CORRECTLY FOUND CLAIMS 11 AND 12 UNPATENTABLE.

      This Court should affirm the Board’s determination that claims 11-12 are

unpatentable because substantial evidence supports its factual findings.

      1.     Substantial evidence supports the Board’s factual finding that
             Rezvani contains a typo, and that when read correctly, Rezvani
             discloses a headset that performs a “seamless handoff.”

             a.    The Board’s finding has ample record support.

      In evaluating Bose’s argument that “handset” in Rezvani’s paragraphs 41 and

50 was a typographical error, the Board carefully considered Rezvani’s disclosures

and Dr. Williams’ testimony explaining how POSAs would have interpreted those

disclosures. Appx41-43 (citing Appx570-573; Appx7795-7799 (¶¶ 15-22)).

      The Board first observed that Rezvani’s paragraph 41 “describes Figure 8,

which clearly labels ‘headset 805.’” Appx42 (citing Appx7791-7792 (¶ 8)). As Dr.

Williams explained: “Rezvani’s paragraph 41 is unambiguous that Figure 8 depicts

embodiments of ‘headset 805,’” and a “‘headset’ is the only device shown in the

Figure 8 that performs both simultaneous operations and seamless handoff.”

Appx7797 (¶ 20) (emphasis original); Appx7793-7794 (¶ 12) (explaining Figure 8

“is clear on its face” and discloses “Rezvani’s headset performing the seamless

handoff”) (emphasis original). The Board reasonably concluded that Figure 8

discloses precisely what it depicts—a headset performing seamless handoff.



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      The Board went on to explain that Rezvani’s paragraph 41 “references ‘a

headset 805’ before referring to ‘the handset.’” Appx43 (emphasis original). As Dr.

Williams explained, paragraph 41 introduces “headset 805” and describes it as

having “a plurality of antennas” and as being depicted in Figure 8. Appx7795-7796

(¶ 18); Appx2484. Paragraph 41 further explains that “headset 805” uses its

antennas to connect simultaneously with a “wi-fi access point 820” and a “cellular

base station 840” such that a “[VoIP] call handoff between a wi-fi and cellular

connection may advantageously be implemented.” Appx2484. This simultaneous

connection is depicted in Figure 8 and, as Dr. Williams explained, is consistent with

paragraph 40, which says the “headset may advantageously support simultaneous

operation” on multiple wireless networks. Appx2478; Appx2484; Appx7795-7796

(¶ 18).

      Having introduced “headset 805” and its “simultaneous” operation

functionality, paragraph 41 then states: “In addition to simultaneous operation, the

handset can support seamless handoff between two systems.” Appx2484. As Dr.

Williams explained, the reference to a “handset is abrupt and makes little logical

sense in Rezvani’s context.” Appx7796-7797 (¶ 19). According to Dr. Williams,

POSAs “would quickly recognize” there was a typographical error because the

antecedent basis for the “simultaneous operation” was an operation paragraph 40

said the “headset” performed and there was no earlier mention of a “handset” in


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Rezvani with “simultaneous operation” functionality or even multiple antennas. Id.

Koss’s expert Mr. McAlexander offered no contrary testimony, and the Board

reasonably concluded that paragraph 41’s reference to a “headset 805” before its

reference to “the handset” reinforced that “handset” was a typographical error.

      The Board then explained that “Rezvani universally refers to ‘headset’ and

‘handset’ is never referenced outside paragraphs 41 and 50.” Appx43. The Board

cited numerous passages in Rezvani that “universally” refer to Rezvani’s

“invention” as a headset, not a handset. Id. For example, the Board cited Rezvani’s

Title: “High Fidelity Multimedia Wireless Headset.” Appx2470. It cited Rezvani’s

Abstract, which says: “The invention provides a multiple-antenna wireless

multimedia headset with…seamless handoff between multiple wireless interfaces.”

Id. It cited Rezvani’s Figure 1, which illustrates a block diagram of a “headset,” and

includes functional blocks like VoIP, i.e., the type of call Figure 8 depicts being

seamlessly handed off. Appx2471. It cited Rezvani’s “Field of the Invention” and

“Description of the State-of-the-Art,” which identify both the relevant field and art

as wireless “headsets.” Appx2481 ([0002], [0004]). It cited Rezvani’s “Summary,”

which says the “invention provides a High-Fidelity Multimedia Wireless Headset.”

Appx2481 ([0015]-[0016]); see also Appx2483-2484 ([0033]-[0035], [0038]-

[0041]).




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      Many of these disclosures are the same ones Dr. Williams identified as

“unambiguous disclosures in Rezvani of the ‘headset’ executing the automatic

transition between two wireless networks.” Appx7791-7794 (¶¶ 8-14) (emphasis

original). Mr. McAlexander, by contrast, focused only on paragraphs 41 and 50, and

never considered whether they included a typo. Appx8783-8788 (¶¶ 47-61).

      Based on the evidence before it, the Board concluded that “‘handset’ was ‘an

obvious typographical error’ that ‘would be apparent to one of ordinary skill in the

art.’” Appx43 (quoting In re Yale, 434 F.2d at 668-69). Given the factual record

developed below—which is one-sided given Koss’s decision not to have its expert

address the typographical-error issue—the reasonableness of the Board’s conclusion

is self-evident.

             b.    Koss impermissibly asks the Court to reweigh the evidence.

      Koss asks the Court to reweigh the evidence and conclude that the Board

could have found that the reference to a “handset” in paragraphs 41 and 50 was

intentional. Koss Br. 24-29. But this Court does not “reweigh the evidence” or “ask

whether substantial evidence supports fact-findings not made by the Board.”

Regents of the Univ. of Cal. v. Broad Inst., Inc., 903 F.3d 1286, 1294 (Fed. Cir.

2018). Instead, the Court asks whether substantial evidence “supports the findings

that were in fact made.” Id. Here it certainly does, as demonstrated above.




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      Koss argues that the Board’s reliance on Rezvani’s Figure 8 was “misplaced.”

Koss Br. 25. Without disputing that Figure 8 depicts “headset 805” and references

a “seamless handoff,” Koss argues the figure leaves open the possibility that the

“handset” referenced in paragraphs 41 and 50 performs the handoff. Koss Br. 25.

To the contrary, as Dr. Williams explained, a “headset” is the only device Figure 8

depicts and POSAs “would have no basis to interpret Figure 8 as depicting an

embodiment in which an un-illustrated handset is controlling the operation that

Figure 8 depicts the headset as performing.” Appx7797 (¶ 20) (emphasis original).

Indeed, the entire purpose of Rezvani’s “invention,” Dr. Williams explained, was

developing a headset with its “own cellular circuitry” that can “communicate over

cellular networks…on its own, without” reliance on other devices like handsets.

Appx7797-7799 (¶ 21).

      Koss’s only contrary evidence was Mr. McAlexander’s conclusory allegation

that there must be a hidden handset controlling “headset 805” in Figure 8 because

paragraph 41 “undoubtedly reserved” the “seamless handoff” for the handset.

Appx8784-8785 (¶ 51). This bootstrap argument assumes paragraph 41’s reference

to a “handset” is not a typographical error, and therefore it never addresses the salient

question of what Figure 8—viewed without consideration of the potential typo—

discloses. Only Dr. Williams answered that question. The Board’s conclusion that

Figure 8 discloses exactly what it depicts is plainly reasonable.


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      Koss next argues that the Board “erred by imparting significance to the

fact that Rezvani’s ¶ [0041] uses the word ‘headset’ before the word ‘handset.’”

Koss Br. 25. According to Koss, the “initial portion” of paragraph 41 that uses the

word “headset” is describing how the headset “has multiple antennas,” and it is a

distinct “latter portion” of paragraph 41 that says the “handset, not the headset,

supports the seamless handoff.” Koss Br. 25-26. Again, Koss is asking the Court

to reweigh the evidence.

      As detailed supra pp. 29-30, Dr. Williams explained why paragraph 41’s

“latter portion” is not distinct from its “initial portion” referencing a “headset 805,”

but rather intricately connected to that “initial portion.” As Dr. Williams explained,

paragraph 41 describes “headset 805” as having multiple antennas which permit the

headset to perform “simultaneous operation” over two wireless networks, which is

consistent with paragraph 40’s description of “the headset” having “simultaneous

operation” functionality and with Figure 8’s depiction of “headset 805” performing

that functionality. Appx7795-7797 (¶¶ 18-20). When paragraph 41 then abruptly

says that “[i]n addition to simultaneous operation, the handset can support seamless

handoff between two systems” (Appx2484), POSAs “would quickly recognize” a

typo, Dr. Williams explained, because the “simultaneous operation” was an

operation Rezvani said the “headset” performed and there was no earlier mention of

a “handset” in Rezvani with such functionality. Appx7796-7797 (¶ 19).


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      Mr. McAlexander offered no contrary testimony, and therefore Koss is left

with only its attorneys’ interpretation of paragraph 41, which is not evidence.

Gemtron Corp. v. Saint-Gobain Corp., 572 F.3d 1371, 1380 (Fed. Cir. 2009). The

Board’s determination to credit Dr. Williams over Koss’s attorneys was reasonable.

      Koss’s third challenge focuses on the Board’s determination that Rezvani

“universally refers” to a “headset” and does not refer to a “handset” outside of

paragraphs 41 and 50. Koss Br. 26. As with its other critiques, Koss simply asks

the Court to re-weigh the evidence.

      Koss does not directly dispute the Board’s finding that Rezvani “universally”

describes a “headset.” As shown supra p. 30, Rezvani repeatedly describes the

invention as a wireless headset, not a handset. Koss instead focuses on the Board’s

statement that Rezvani “never” refers to a “handset” outside of paragraphs 41 and

50. Koss Br. 26-27. Specifically, Koss notes there are other places in which Rezvani

discusses a “handset” apart from paragraphs 41 and 50. Id.

      To begin, this is a new argument that Koss did not present to the Board and

thus forfeited. In re Watts, 354 F.3d 1362, 1367-68 (Fed. Cir. 2004). Koss cannot

fairly criticize the Board for not discovering “handset” disclosures in Rezvani that

Koss itself did not identify until this appeal.




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      Regardless, Rezvani’s mention of a “handset” in certain additional paragraphs

is unsurprising given its background explanation that wireless headsets were

commonly used “in conjunction with cell phones and VoIP phones,” i.e., handsets.

Appx2481 ([0004]). Rezvani recognized handsets existed, but they were, as Dr.

Williams explained, “only described by Rezvani as [] peripheral device[s] that

can optionally communicate with Rezvani’s ‘headset.’”          Appx7796-7797 (¶19)

(citing Appx2482-2484 ([0023], [0033], [0039])).

      Koss’s newly cited “handset” disclosures are consistent with Dr. Williams’

explanation because the disclosures merely confirm handsets can communicate with

other devices like Rezvani’s headset.      E.g., Appx2484 ([0042]) (“peer-to-peer

connectivity may be accomplished between a plurality of headsets, handsets, or other

network elements”); Appx2479 (Figure 9 depicting handset and headset

communicating with a common headset). None of the isolated instances in which

the word “handset” appears describe a handset performing a seamless handoff or

simultaneous operation, the two functions Figure 8 depicts Rezvani’s “headset 805”

performing. Appx7796-7797 (¶ 19).




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        Koss also argues that “no reasonable person would conclude that the alleged

errors are obvious” because paragraphs 41 and 50 “make sense technically as written

and are grammatically correct.” Koss Br. 27. But the paragraphs only “make sense”

if one ignores the antecedent basis issue that Dr. Williams identified and the Board

found persuasive. Supra pp. 29-30. As Dr. Williams explained, “the abrupt

introduction of ‘handset’” in paragraphs 41 and 50 “makes no sense when read in

context—the author clearly meant ‘headset.’” Appx7799 (¶ 22) (second emphasis

original). In response, Koss offers the Court only attorney argument, which “cannot

rebut…admitted evidence.” Gemtron, 572 F.3d at 1380.

        Koss suggests Dr. Williams agreed paragraphs 41 and 50 make sense as

written (Koss Br. 27), but he never did. In the first deposition excerpt (Appx8932-

8933), Dr. Williams merely confirmed that mobile phones in 2008 could perform

seamless handoffs; he was never asked how (or if) that unremarkable fact impacted

his interpretation of Rezvani. In the second excerpt (Appx8933-8934), Dr. Williams

did not admit that “Rezvani’s headset could be a mobile phone” as Koss argues.

Koss Br. 27. He confirmed that Rezvani’s handset, not its headset, could have been

a mobile phone.7 Appx8933-8934 (21:15-22:10).



7
    Koss’s counsel’s own mistaken substitution of “headset” for “handset” reinforces

the reasonableness of the Board’s conclusion that Rezvani included a similar typo.


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      Citing “Occam’s Razor,” Koss argues it is implausible that Rezvani’s drafter

had the same typo “in four different places—twice in ¶ [0041] and twice in ¶ [0050].”

Koss Br. 27-28. But paragraphs 41 and 50 are essentially identical, and thus it makes

sense that the drafter, when copying paragraph 41’s text into paragraph 50,

mistakenly copied paragraph 41’s typo when copying the rest of paragraph 41’s text.

Appx7799 (¶ 22) (explaining the typos are “nearly identical”); Appx43 (“Paragraph

50 is identical….”).

      Finally, Koss’s suggestion that “hindsight” bias tainted Dr. Williams’

testimony because he read the ’155 patent before Rezvani is frivolous. Koss Br.

28-29. Of course Dr. Williams first read the ’155 patent before analyzing whether

its claims were patentable. Koss offers no explanation, let alone legal authority, how

an expert in an IPR would proceed other than first reading the challenged patent.

      2.     Substantial evidence supports the Board’s alternative finding that,
             even if there was no typo, Rezvani nonetheless discloses a headset
             that performs a “seamless handoff.”

      Although the Court need not even consider it given the reasonableness of the

Board’s typo-finding, the Board provided an alternate basis for finding that Rezvani

discloses a “headset” that performs a “seamless handoff.” Specifically, the Board

found that even if Rezvani is typo-free, it nonetheless discloses a headset performing

a “seamless handoff” because several other disclosures in Rezvani said as much.

Appx44-45. This alternative fact finding has ample evidentiary support.


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             a.    The Board did not adopt an obviousness theory.

      Trying to recast the Board’s alternative fact finding as a legal finding, Koss

argues the Board adopted an “obviousness theory” premised on POSAs modifying

Rezvani’s headset to include “seamless handoff” functionality. Koss Br. 38. Koss

badly misinterprets the Board’s decision.

      Bose never argued (and the Board never found) that it would have been

obvious to modify Rezvani’s headset to include the “seamless handoff” functionality

that Koss says Rezvani reserves for handsets. Bose’s position throughout the trial

was that Rezvani discloses a headset with “seamless handoff” functionality, and thus

there was no need to modify the headset. Appx208-220; Appx567-576.

      What Bose did argue, though, is that even if one assumed (wrongly) that

paragraphs 41 and 50 lack any typos, Rezvani nonetheless discloses a headset with

“seamless handoff” functionality because there were multiple other unambiguous

disclosures in Rezvani saying the headset has such functionality. Appx568-570;

Appx7791-7794 (¶¶ 8-14).       Bose’s alternative argument mirrored the Board’s

finding in its institution decision that, regardless of any typographical error, Bose

had demonstrated that Rezvani discloses a “headset” that has “seamless handoff”

capabilities. Appx446-447.




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          It was Bose’s alternative argument that the Board was adopting in the portion

of the decision that Koss now misconstrues as adopting an obviousness theory. As

the Board explained, “even if paragraph 41 is not a ‘typo,’ the question is whether

or not [POSAs] would understand that there is a ‘seamless handoff’ [in Rezvani] that

occurs automatically.” Appx44. The Board then said Bose had “provided evidence

that a seamless handoff is taught by Rezvani,” and cited the numerous disclosures

in Rezvani—cited by Bose in its Petition—confirming that the “headset” performs

the “seamless handoff.” Id. (citing Appx210; Appx1298 (¶ 39); Appx1353-1355

(¶¶ 106-107); Appx219; Appx2478 (FIG. 8); Appx2485 ([0050]); Appx2486

(claims 32, 36); Appx1374-1375 (¶ 136)).             The Board then further cited Dr.

Williams’ explanation that even if paragraphs 41 and 50 are typo-free, their

references to a “handset” “do not create ambiguity in the several additional,

unambiguous disclosures in Rezvani of the ‘headset’ executing the automatic

transition between two wireless networks.”            Appx44 (quoting Appx7791-7792

(¶ 8)).

          Koss seizes on the Board’s statement that reserving the “seamless handoff” to

the handset would not “have prevented [POSAs] from understanding that the

claimed ‘headset’ would have been modified to perform the handoff.” Koss Br. 38

(quoting Appx44). Koss characterizes this as an “obviousness theory,” but neglects

to note that the Board was specifically rejecting Koss’s puzzling argument that there


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was “no motivation to modify Rezvani’s headset to support the seamless handoff.”

Appx512 (cited at Appx44). If that one sentence in the Board’s decision used

language suggestive of an obviousness theory, it was only because the Board was

rejecting Koss’s motivation-to-combine theory—a theory created to rebut a

strawman obviousness argument that Bose never advanced.

      Reasonably read, the Board’s decision adopted Bose’s alternative argument

that, regardless of any potential typo in Rezvani, the reference disclosed a “headset”

that performed “seamless handoff.” The Board did not adopt an obviousness

argument Bose never made.

             b.    Substantial evidence supports the Board’s alternative
                   finding.

      The Board agreed with Dr. Williams that any potential typographical error

within Rezvani does not erase the “unambiguous disclosures in Rezvani of the

‘headset’ executing the automatic transition between two wireless networks.”

Appx44; see also Appx7791-7794 (¶¶ 8-14). Koss argues that “[n]o reasonable

person could credit [Dr.] Williams’[] testimony in light of what Rezvani literally

states.” Koss Br. 39. To the contrary, the Board’s conclusion was eminently

reasonable given Rezvani’s disclosure.

      Koss focuses myopically on paragraph 8 of Dr. Williams’ reply declaration

and argues that none of the disclosures in Rezvani listed by Dr. Williams in

that particular paragraph “explain that the headset executes an automatic

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transition between wireless networks.”       Koss Br. 39 (citing Appx7791-7792).

As discussed infra pp. 46-47, the listed disclosures support Dr. Williams’ testimony

and the Board’s corresponding fact findings, but by starting and ending its analysis

with that sole paragraph, Koss ignores other disclosures in Rezvani that the Board

cited as teaching that the headset performs a “seamless handoff,” and which Dr.

Williams discussed in other paragraphs of his declaration. Appx7791-7794 (¶¶ 9-

14).

       To start, when summarizing Rezvani’s disclosure, the Board quoted Rezvani’s

Abstract and explained that it “discloses a ‘wireless multi-media headset with high

fidelity sound’ that performs ‘seamless handoff between multiple wireless

interfaces.’”   Appx39 (quoting Appx2470).            As Dr. Williams explained, the

Abstract’s disclosure is “unambiguous” and confirms that Rezvani discloses a

“headset” that performs the seamless handoff. Appx7793 (¶ 10); see also Appx1353

(¶ 105).   Koss never addressed Rezvani’s Abstract before the Board, leaving

Dr. Williams’ testimony unrebutted.

       On appeal, Koss continues to ignore the Abstract when discussing whether

substantial evidence supports the Board’s alternative basis for finding that Rezvani

discloses a “seamless handoff” (Koss Br. 39-42), but it does finally discuss the

Abstract later in its brief. Koss Br. 54. Specifically, Koss argues for the first time

that the Abstract is “insufficient” because it “states that the ‘invention’ provides the


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seamless handoff and Rezvani’s ‘invention’ undoubtedly also includes the handset.”

Id. That argument was forfeited because Koss failed to raise it before the Board.

In re Google Tech. Holdings LLC, 980 F.3d 858, 863-64 (Fed. Cir. 2020). The

argument also impermissibly asks the Court to re-weigh the evidence, and the

relevant inquiry is whether reasonable factfinders could have read the Abstract as

the Board (and Dr. Williams) did. That reading is plainly reasonable given what the

Abstract literally says.

      In any event, Koss’s suggestion that Rezvani’s “invention” includes a

“handset” lacks support. As Dr. Williams explained, a handset “is only described in

Rezvani as a peripheral device that optionally communicates with Rezvani’s

‘headset.’” Appx7796-7797 (¶ 19). That is why Rezvani’s Title and “Field of the

Invention” refers to wireless headsets, not handsets. Appx2470; Appx2481 ([0002]).

Tellingly, Mr. McAlexander never adopted Koss’s current interpretation of

Rezvani’s Abstract; indeed, he did not discuss the Abstract at all. Appx8783-8788.

      Koss also now argues that the Abstract “at most suggests that the headset

benefits from the seamless handoff” that the handset performs. Koss Br. 54. That

argument also was not raised below and thus is forfeited. It also unreasonably twists

the language of the Abstract, which plainly says the “invention provides a…wireless

[] headset with…seamless handoff between multiple wireless interfaces.”

Appx2470. Nothing in the Abstract suggests a handset is involved in the handoff,


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and there certainly is nothing making such a reading the only reasonable one the

Board could have reached.

      In addition to Rezvani’s Abstract, when identifying the “evidence” that Bose

provided “that a seamless handoff is taught by Rezvani,” the Board also cited

Rezvani’s claims 32 and 36. Appx44. Claim 32 recites a “headset” that has “means

supporting simultaneous operation over two or more different wireless systems,” and

claim 36 limits claim 32’s headset to one “including means for seamless handoff of

an application between the two systems.” Appx2486. As Dr. Williams explained,

the two claims—both directed to a headset—provide “yet another unambiguous

disclosure—consistent with the Abstract’s disclosure []—of Rezvani’s headset

performing the seamless handoff.” Appx7793 (¶ 11); see also Appx1374-1375

(¶ 136). Koss never addressed claims 32 and 36 below, leaving Dr. Williams’

testimony unrebutted.

      Koss now argues for the first time that the means-plus-function nature of

claims 32 and 36 obligated Bose to identify precise “structure” within the headset

for performing the seamless handoff. Koss Br. 37-38, 54-55. Again, Koss forfeited

this argument by not raising it below. Regardless, Bose did identify structure for

performing claim 36’s seamless handoff—“microprocessor 235” within Rezvani’s

headset. Appx220; Appx1375-1376 (¶ 138); see also Appx2472 (Fig. 2); Appx2481




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([0020]). This is the same structure—a “processor”—that [1.g] recites as performing

the “transition automatically” element.

      In addition to Rezvani’s Abstract and its claims, the Board also identified

Rezvani’s Figure 8 as further evidence that Rezvani discloses a “seamless handoff.”

Appx44. As Dr. Williams explained, Figure 8 “only depicts a ‘headset’ performing

both the ‘simultaneous operation’ and the ‘seamless handoff.” Appx7797 (¶ 20)

(emphasis original); see also Appx1374-1375 (¶ 136). The Board agreed. Appx44.

And the figure’s plain disclosure—it only depicts “headset 805” performing the

handoff—reinforces that conclusion:




Appx2478.

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      Koss argues that Figure 8 only “shows that the headset could benefit from the

seamless handoff supported by the handset, but it does not disclose that the seamless

handoff is executed by the headset.”        Koss Br. 41.        The Board’s contrary

interpretation, however, was plainly reasonable as the figure depicts a headset, not a

handset.

      Rezvani’s Abstract, its claims 32 and 36, and its Figure 8 each (and certainly

collectively) provide substantial evidence sufficient to affirm the Board’s finding

that Rezvani discloses a “headset” that performs a “seamless handoff” even if

(contrary to fact) Rezvani lacked any typos. And although the Board did not

separately list out those disclosures when saying it agreed with Dr. Williams’ reply

testimony that there were unambiguous disclosures in Rezvani of a “headset” that

performs a seamless handoff, it did separately list the paragraphs in Dr. Williams’

original declaration where he relied on the Abstract, claims 32 and 36, and Figure 8

for precisely that proposition. Appx44 (citing Appx1353 (¶ 105) (discussing the

Abstract); Appx1374-1375 (¶ 136) (discussing claims 32 and 36 as well as Figure

8)). The Board plainly relied on Rezvani’s Abstract, its claims 32 and 36, and its

Figure 8 when making its factual finding that Rezvani discloses a “headset” that

performs a “seamless handoff” even if Rezvani lacked any typos—and those

disclosures provide substantial evidence support for that finding.




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      Turning now to the additional disclosures in Rezvani that Dr. Williams listed

in paragraph 8 of his reply declaration—and on which Koss focuses (Koss Br.

39-41)—they too support the Board’s finding. Koss is correct that, unlike Rezvani’s

Abstract, claim 36, and Figure 8, these additional disclosures do not explicitly say

the “headset” performs a seamless handoff. Koss Br. 40-41. But they do say (i)

Rezvani’s invention is a “headset” and (ii) the “headset” has wireless functionality

enabling it to connect to multiple wireless networks, a feature necessary for

performing a “seamless handoff.” They thus reinforce what Rezvani’s Abstract,

claim 36, and Figure 8 state explicitly—the headset performs a seamless handoff.

      For example, paragraphs 15-16 provide a “summary” of the invention, and

both describe it as a “headset,” not a “handset.” Appx2481. Paragraph 16 further

explains that the headset has a “plurality of multiple wireless interfaces,” meaning it

can communicate over multiple wireless networks, which a “seamless handoff”

between two wireless networks requires. Id. Paragraphs 19-21 are consistent, as

each describes components of the “headset,” including an “array of antennas” and

“[m]ultiple wireless systems.” Appx2481-2482. Indeed, paragraph 19 explicitly

states, “[t]he headset 100 supports Voice over IP (VoIP) 135 directly” (Appx2481),

and a VoIP call is the one Figure 8 depicts as being seamlessly handed off

(Appx2478). Figures 1-3 are relevant for the same reasons, as they each depict the

aspects of the headset that paragraphs 19-21 describe. Appx2471-2473.


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        As seen above, the disclosures that Dr. Williams listed in paragraph 8 of his

reply declaration unambiguously reinforce that Rezvani is not directed to a

“handset,” as Koss implies, but rather to a novel “headset” with the ability to connect

to multiple wireless networks. Those disclosures, in turn, reinforce that when

Rezvani says in its Abstract, claim 36, and Figure 8 that the “headset” performs a

“seamless handoff” between wireless networks, Rezvani means precisely what it

says.

                                         ***

        Whether because the Board reasonably concluded that Rezvani’s paragraphs

41 and 50 contained a typographical error or because the Board reasonably found

that Rezvani, even if it contains no errors, nonetheless discloses a “headset” that

performs a “seamless handoff,” the Board’s determination that Rezvani discloses

such a “headset” should be affirmed.

        3.    Substantial evidence supports the Board’s factual finding that
              Rezvani’s “seamless handoff” meets the “transition automatically”
              element.

        Because substantial evidence supports the Board’s finding that Rezvani

discloses a “headset” that performs a “seamless handoff,” the only remaining

question is whether the Board’s factual finding that Rezvani’s “seamless handoff” is

encompassed by [1.g]’s “transition automatically” element was reasonable. It was.




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             a.     The Board did not misconstrue “transition automatically”
                    when it applied the parties’ agreed interpretation of the term
                    to Rezvani’s disclosure.

      Over the course of several pages, Koss argues the Board misconstrued

“transition automatically.” Koss Br. 31-38. Koss’s argument, however, is not truly

directed at the Board’s construction of “transition automatically”; rather, Koss’s

argument is directed at how the Board applied that construction to Rezvani’s

disclosure. That is a fact question—i.e., what Rezvani discloses to POSAs—

reviewed for substantial evidence support; not a legal one, reviewed de novo.

Idemitsu Kosan Co. v. SFC Co., 870 F.3d 1376, 1379 (Fed. Cir. 2017) (“what the

prior art teaches” is a fact question); In re Aspen Aerogels, Inc., 835 F. App’x 587,

589 (Fed. Cir. 2020) (rejecting characterization of issue as one of claim construction

where party “merely asserts that the Board must have misunderstood the meaning of

the term [] if the Board thought that the prior art included [the term]”).

      Koss argues that “transition automatically” means the headset transitions from

one network to another “without external intervention,” such as from a user or

another device. Koss Br. 31. Bose agrees and said as much in its Petition. Appx220

(“According to the ’155 patent, ‘automatically’ means ‘without user intervention.’”);

Appx154-156 (2:65-3:3, 5:21-22). Although Bose also said no express construction

of the term was needed (Appx195), it did so because the record confirmed Rezvani’s

“seamless handoff” is a transition that occurs “without user intervention”; thus there


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was no need to construe “transition automatically” beyond confirming that it

encompasses Rezvani’s “seamless handoff.” Appx195; Appx220; Appx574-576.

While Koss tries to suggest otherwise, the parties agreed on the meaning of

“transition automatically.”8

        It should come as little surprise that the Board appreciated this: “Both parties

agree, and the ’155 patent all but defines, that ‘automatic’ means ‘without user

intervention.’” Appx13. Consistent with this Court’s precedent, the Board found

“express construction” unnecessary; it was enough to hold that “a ‘seamless handoff’

is encompassed within the meaning of ‘transition automatically.’” Id.; Nidec Motor

Corp. v. Zhongshan Broad Ocean Motor, 868 F.3d 1013, 1017 (Fed. Cir. 2017) (the

Board need construe terms “only to the extent necessary to resolve the controversy”).

        Nevertheless, Koss spends pages suggesting the Board somehow

misconstrued “transition automatically.” Koss Br. 31-38. For example, it faults the

Board for allegedly “constru[ing] ‘transition automatically’ based on extrinsic



8
    Koss has never articulated any difference between “without user intervention” and

“without external intervention.” E.g., Koss Br. 35 (“‘automatically’ means without

user intervention”). Regardless, as Dr. Williams explained, Rezvani’s headset

performs a “seamless handoff” without either form of intervention. Appx7802-7804

(¶¶ 29-31).


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evidence in the form of Rezvani.” Koss Br. 32. But what Koss really challenges is

the Board’s application of the agreed-upon construction (“without user [or external]

intervention”) to Rezvani’s disclosure.      That is a fact question reviewed for

substantial evidence support.

             b.    The record supports the Board’s finding that Rezvani’s
                   “seamless handoff” occurs without user intervention.

      On the fact question of whether POSAs would have understood that Rezvani’s

“seamless handoff” is done without user (or external) intervention, Koss does not

mention the evidence underlying the Board’s finding. The Board cited numerous

prior-art references (and Dr. Williams’ testimony regarding them) that confirm a

“seamless handoff” was known in the art as one performed without user (or external)

intervention. Appx11-12 (citing Appx2994 ([0278]-[0279]); Appx1376 (¶ 139);

Appx7760 ([0006]); Appx7780 ([0047]); Appx7804 (¶ 31)); see also Appx574-576;

Appx7803-7804 (¶ 30) (“[T]he headset—not the user—switches the network that

the headset is using.”). Koss never addresses this evidence, which plainly constitutes

substantial evidence support for the Board’s factual finding that Rezvani’s “seamless

handoff” meets the “transition automatically” limitation.

      Unable to find any legal flaw in the Board’s adoption of Koss’s own

proposed construction or any factual flaw in the Board’s finding that Rezvani’s

“seamless handoff” occurs without user (or external) intervention, Koss recycles its

contention that Rezvani’s paragraphs 41 and 50 do not contain typographical errors.

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Specifically, Koss argues that under “the proper construction,” i.e., a transition that

occurs without user (or external) intervention, and “assuming that Rezvani does not

include the errors that the Board found that it includes, Rezvani does not teach or

suggest limitation 1.g” because “Rezvani teaches that the handset, i.e., an external

intervention, supports the seamless handoff for the headset and does the switching

between wireless networks.” Koss Br. 36-37; see also id. at 29-30.

      Koss’s argument—couched in terms of claim construction—collapses if the

Court agrees with Bose that reasonable factfinders could have concluded that

Rezvani’s paragraphs 41 and 50 contain typographical errors. Supra pp. 28-37.

      Moreover, Koss is incorrect when it says “[n]o other portion of Rezvani,”

beyond paragraphs 41 and 50, “teaches the headset transitioning networks without

intervention from the handset.” Koss Br. 37. As the Board correctly observed

(Appx39), Rezvani’s Abstract squarely says that the “invention provides a multiple-

antenna wireless multimedia headset with…seamless handoff.” Appx2470; see also

Appx7793 (¶ 10). Claim 36 is similar. It recites a “headset” that “includ[es] means

for seamless handoff” between two networks. Appx2486; see also Appx7793 (¶ 11).

      As explained earlier, Koss’s attempt to explain away the Abstract is both

forfeited and relies on twisting the Abstract’s language in a way that the Board

reasonably rejected. Supra pp. 41-43. Likewise, as explained earlier, Koss’s

means-plus-function critique of claim 36’s disclosure is also forfeited and meritless.


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Supra pp. 43-44. The Abstract and claim 36 thus directly refute Koss’s contention

that “[n]o other portion of Rezvani,” beyond paragraphs 41 and 50, “teaches the

headset transitioning networks without intervention from the handset.” Koss Br. 37.

         Finally, although the Board ultimately found Koss’s admissions before the

EPO unpersuasive, Appx45, Bose respectfully submits that the admissions further

confirm the reasonableness of the Board’s conclusion that Rezvani’s “seamless

handoff” meets the “transition automatically” element.9

         As detailed supra pp. 8-9, the EPO interpreted Rezvani to disclose a “headset”

that “is designed to perform a handoff” between two wireless networks. Appx1886;

see also Appx1377 (¶140); Appx7804 (¶ 32). In response, Koss acquiesced to the

EPO’s rejection and rewrote its pending claims in “two part form” with respect to

Rezvani (Appx1892), thereby admitting that Rezvani discloses an “earphone,” i.e.,

headset, that “transition[s] automatically” from one network to another. Appx1896.

         Although the Board did not see a need to rely on Koss’s EPO admission to

conclude that Rezvani discloses [1.g]’s “transition automatically” element



9
    The admissions also confirm that, prior to this case, Koss consistently admitted that

Rezvani discloses a headset (not a handset) performing a “seamless handoff.”

Abbott Lab’ys v. Sandoz, Inc., 566 F.3d 1282, 1290 (Fed. Cir. 2009) (relying on

patentee’s admission in foreign patent)


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(Appx45), that admission—which concerns the factual question of what Rezvani

discloses, and therefore is not dependent on European law—is nonetheless binding.

Tanabe Seiyaku Co. v. U.S. Int’l Trade Comm’n, 109 F.3d 726, 733 (Fed. Cir. 1997)

(holding patentee to factual admission to foreign patent office that two chemicals

were not interchangeable); see also Appx217-220; Appx575.

      4.     The Board did not abuse its discretion in considering Dr. Williams’
             reply testimony regarding Rezvani.

      Koss argues the Board abused its discretion by considering Dr. Williams’

reply testimony explaining (1) why POSAs would have understood Rezvani to

include typos and (2) how, even assuming there were no typos, there are still

unambiguous disclosures in Rezvani of a headset performing a “seamless handoff.”

Koss Br. 44-49. The Board’s decision to consider Dr. Williams’ testimony was not

“clearly unreasonable,” and thus was not an abuse of discretion.               Bilstad v.

Wakalopulos, 386 F.3d 1116, 1121 (Fed. Cir. 2004).

             a.    The Board reasonably permitted Dr. Williams to explain why
                   Rezvani had a typographical error.

      The crux of Koss’s argument regarding Dr. Williams’ reply testimony about

the typo is that Bose could have submitted it with the Petition and thus should not

have been allowed to submit it later. Appx44-45. This Court, however, has “made

clear that if the petition asserts that a claim requirement is met, provides a reason

that the assertion is true, and cites evidentiary support for that reason, then reply


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material that fairly adds confirmation that the initially presented material does in fact

support the assertion is not prohibited new material, but a proper part of the record.”

AMC Multi-Cinema, Inc. v. Fall Line Pats., LLC, No. 2021-1051, 2021 WL

4470062, at *6 (Fed. Cir. Sept. 30, 2021).

      That is precisely what happened here—Bose asserted in its Petition that

Rezvani discloses a headset performing a “seamless handoff,” for support Bose cited

paragraph 41 and other disclosures in Rezvani as well as testimony from

Dr. Williams, and it then introduced reply testimony from Dr. Williams to confirm

that what Bose originally asserted was correct despite Koss’s arguments (in its

preliminary and post-institution responses) to the contrary. The Board’s decision to

permit Bose to file reply evidence from Dr. Williams was entirely proper. See, e.g.,

Everstar Merch. Co. v. Willis Elec. Co., No. 2021-1882, 2022 WL 1089909, at *4

(Fed. Cir. Apr. 12, 2022) (finding “legitimate reply” where “argument on reply

directly addresses issues raised in [patent owner’s] preliminary response and post-

institution response”); Apple Inc. v. Andrea Elecs. Corp., 949 F.3d 697, 706-707

(Fed. Cir. 2020) (reversing decision to disregard reply evidence that “squarely

responds to [the] Patent Owner Response”).




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      Underlying Koss’s argument is its speculation that Bose and/or Dr. Williams

knew about the typographical error before the Petition was filed, but then made the

decision not to address the issue for unknown strategic reason. There is no support

for that speculation.

      At the oral hearing, the Board asked Bose’s counsel why Bose did not address

the typographical issue in its Petition, and counsel explained that he simply did not

notice it. Appx699-700 (19:10-20:12). Given Rezvani’s headset-focused context,

counsel simply read “handset” in paragraph 41 as “headset,” and did not notice the

typographical distinction until Koss raised the issue in its preliminary response. Id.

The Board found counsel’s explanation “candid and credible.” Appx42.

      Koss contends that Dr. Williams admitted he knew Rezvani had a

typographical error when he submitted his original declaration. Koss Br. 48-49. But

he made no such admission. Consistent with what Bose’s counsel said, Dr. Williams

testified that when he read paragraph 41 he “interpreted the words of Rezvani as

meaning the headset is the thing that switches.” Appx8959-8960. Koss seemingly

wants the Court to conclude that when Dr. Williams said he “interpreted” Rezvani’s

paragraph 41 to say “headset,” he meant that he affirmatively concluded it contained

an error rather than mentally substituting “headset” for “handset” without even

knowing it. Koss could have asked clarifying questions, but chose not to do so.




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      Koss argues that the Board’s consideration of Dr. Williams’ testimony was

prejudicial because Koss could not submit counter-evidence with its Sur-Reply.

Koss Br. 47-48. Koss ignores, however, that the typographical-error issue was

raised before institution (Appx384), and was identified by the Board in its

institution decision as an issue that would be decided after a “full trial.” Appx446.

Koss thus knew before it filed its post-institution response that the typo issue was in

play, but it opted not to have Mr. McAlexander address it when he submitted his

post-institution declaration with Koss’s Patent Owner Response. Appx8783-8788.

That Koss has no expert testimony regarding the typo issue is a consequence of

Koss’s litigation strategy. Any alleged prejudice was self-inflicted.

      Koss was also on notice that Bose could submit expert testimony with its reply

addressing the typo-issue. The Board’s Consolidated Trial Practice Guide explicitly

permits petitioners, like Bose, to submit rebuttal evidence to address “issues

discussed in the institution decision.” Patent Trial and Appeal Board Consolidated

Trial Practice Guide at 73 (Nov. 2019); see also Everstar Merch. Co., 2022 WL

1089909, at *4. That Bose did exactly what the Board’s rules permit should not

have surprised Koss.




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            b.     The Board reasonably permitted Dr. Williams to explain
                   why, apart from any alleged typos, Rezvani disclosed a
                   headset performing a “seamless handoff.”

      Koss also says the Board should not have considered Dr. Williams’ testimony

regarding Rezvani’s “unambiguous disclosures” of a headset performing a

“seamless handoff.” Koss Br. 44-49; Appx7791-7794 (¶¶ 8-14). But Koss never

previously asked the Board to disregard Dr. Williams’ unambiguous-disclosures

testimony; Koss always focused on his testimony about the typographical errors.

Appx631-633. Koss forfeited its new objection. In re Google, 980 F.3d at 863.

      Regardless, there was a good reason why Koss never raised this objection

below—it is fatally flawed. The allegedly improper testimony merely explained

how disclosures that Dr. Williams had cited in his original declaration—apart from

paragraphs 41 and 50—confirmed that Rezvani discloses a headset performing a

“seamless handoff.” See, e.g., Appx7791-7792 (¶ 8). Thus, the relevant paragraphs

in Dr. Williams’ reply declaration merely reaffirmed his prior testimony.

      Koss’s repeated claims that Bose did not present “in the petition” its theory

“that other portions of Rezvani unambiguously disclose the headset executing the

seamless handoff” (Koss Br. 47) are belied by the Board’s institution decision. As

explained supra p. 16, the Board found Bose’s Petition, although “clouded” by the

typo issue, had still cited sufficient evidence that Rezvani taught a headset

performing a network “transition automatically.” Appx446-447. In making that


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determination, the Board cited the same Rezvani-disclosures that Dr. Williams cited

in his original declaration, and which he reaffirmed in his reply declaration.

Appx447 (citing, e.g., claim 36, Fig. 8); Appx1374-1375 (¶ 136); Appx7793-7794

(¶¶ 11-12). Dr. Williams’ reply declaration did not introduce a new theory, he

merely explained why the Board’s institution decision, and his original declaration,

were correct. AMC Multi-Cinema, 2021 WL 4470062, at *6. That Koss deposed

Dr. Williams twice on this same subject matter—on his original declaration and

again on his reply declaration—underscores the lack of any prejudice.

B.    THE BOARD PROPERLY APPLIED THIS COURT’S PRECEDENT REGARDING
      TYPOGRAPHICAL ERRORS.

      Koss argues that once the Board determined the reference to “handset” in

paragraphs 41 and 50 was a typo, the Board was obligated to disregard those two

paragraphs entirely as “portions of a prior art reference that include errors are

eliminated as prior art and cannot form the basis for invalidating a patent claim.”

Koss Br. 50. In other words, Koss argues that the Board—as a matter of law—could

not read paragraphs 41 and 50 to disclose a “headset,” even though POSAs would

have read the paragraphs that way, and was instead obligated to read Rezvani as if

paragraphs 41 and 50 were deleted entirely. This Court’s precedent imposes no such

non-sensical obligation on the Board.




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      1.     This Court’s precedent did not require the Board to disregard
             Rezvani’s disclosures as understood by POSAs.

      This Court in LG and its predecessor court in In re Yale both held that when

confronted with typographical errors that would be apparent to POSAs, it is

“the errant information [that] cannot be said to disclose subject matter.” LG Elecs.,

39 F.4th at 1372; In re Yale, 434 F.2d at 669 (“Since the listing of CF3CF2CHClBr

in Clements is an error obvious to [POSA], it cannot be said to describe or suggest

that compound to those in the art.”). This is because POSAs “would mentally

disregard the errant information as a misprint or mentally substitute it for the correct

information,” thereby leaving the errant information as if it were not disclosed.

LG Elecs., 39 F.4th at 1372; In re Yale, 434 F.2d at 668-69 (“Since it is an obvious

error, it cannot be said that one of ordinary skill in the art would do anything more

than mentally disregard CF3CF2CHClBr as a misprint or mentally substitute

CF3CHClBr in its place.”). The “mentally substitute[d]” correct information,

however, is disclosed and available as prior art.

      For example, in LG, the prior-art Tada reference included a “Table 5” that

listed optical parameters for a lens. 39 F.4th at 1366. The petitioner relied on these

parameters to demonstrate that Tada disclosed certain claim elements. Id. at 1367.

The patent owner’s expert, however, explained that POSAs would have recognized

that certain parameters in Table 5 were erroneous and that the correct parameters

were those set forth in Table 5 of a Japanese application to which Tada claimed

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priority. Id. at 1370-71. The Board found the patent owner’s expert persuasive

and concluded that “there was a transcription, or copy-and-paste, error in Tada.”

Id. at 1369-71. The Board did not stop there, though. It went on to assess whether

the “correct [parameters] in Table 5 of the Japanese Priority Application” satisfied

the relevant claim elements, and concluded that the correct information did not. Id.

at 1371. This Court affirmed the Board’s approach, finding its determination that

POSAs “would have substituted [the erroneous parameters] with the correct

information” to be reasonable and in accordance with this Court’s precedent on

typographical errors. Id. at 1373.

      Here, the Board followed the same approach this Court approved in LG. It

too identified an obvious typographical error, i.e., paragraphs 41 and 50 mistakenly

said “handset,” a word that POSAs would have recognized as a misprint given

Rezvani’s context. It too identified the “correct information” that POSAs would

have mentally substituted in replace of the errant information, i.e., “handset” should

be replaced with “headset.” The Board then—just like the Board in LG—assessed

whether the reference, when read correctly (i.e., Rezvani read with “headset”

substituted in place of “handset”) disclosed elements of the challenged claims. The

only difference between the cases is the result: here, when read correctly, Rezvani

discloses the “transition automatically” limitation whereas Tada, when read

correctly, did not disclose the relevant limitation. That difference in result is not due


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to any legal error the Board committed, but is rather due to the fact that in this case

the correct information discloses the relevant claim element.

      The two Board decisions that Koss cites (Koss Br. 51) are both consistent with

the Board’s approach here and merely reinforce LG’s teaching that “errant

information cannot be said to disclose subject matter.” LG Elecs., 39 F.4th at 1372;

Ex Parte Burger, No. 2009-004196, 2009 WL 3497070, at *4, *7-8 (B.P.A.I. Oct.

27, 2009) (reversing examiner’s reliance on literal disclosure of reference where

POSAs would have recognized the literal disclosure was a typo); Ex Parte

Barthelemy, No. 2003-2023, 2004 WL 4979042, at *2 (B.P.A.I. Jan. 21, 2004)

(similar). No case Koss cites stands for the remarkable proposition that factfinders,

after concluding that an error exists in a reference and that there is an obvious

correction for the error, must ignore what the reference actually discloses to POSAs.

      Koss’s citations to 35 U.S.C. § 311(b), Qualcomm Inc. v. Apple Inc., 24 F.4th

1367 (Fed. Cir. 2022), and the Trial Practice Guide (Koss Br. 52) are irrelevant as

they merely confirm that an IPR must be based on patents or printed publications.

Here, Bose’s Petition was based on what Rezvani—a printed publication—discloses

to POSAs. Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1361 n.3

(Fed. Cir. 2008) (“What a prior art reference discloses or teaches is determined from

the perspective of [POSAs].”). Dr. Williams’ testimony did not add to Rezvani’s

disclosure; it explained what POSAs would have understood Rezvani to disclose.


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      2.    Even if paragraphs 41 and 50 are ignored, Rezvani nonetheless
            discloses a “headset” that “transition[s] automatically.”

      Koss argues that if paragraphs 41 and 50 are ignored, then Bose’s invalidity

theories “[c]ollapse.” Koss Br. 53. The Court need not consider this argument

because paragraphs 41 and 50 should not be ignored. Supra pp. 58-61.

      Regardless, as discussed supra pp. 40-47, the Board reasonably concluded

that numerous disclosures in Rezvani, apart from paragraphs 41 and 50,

independently confirm that Rezvani discloses a “headset” that “transition[s]

automatically” between networks. Appx44-45. Koss largely repeats the same

arguments regarding Rezvani’s Abstract, claim 36, and Figure 8 that Bose discussed

supra pp. 40-47. For those same reasons discussed above, even if paragraphs 41 and

50 are ignored, Rezvani nonetheless discloses a headset that performs a seamless

handoff. Indeed, if paragraphs 41 and 50 are ignored, then there would be no

disclosure in Rezvani (erroneous or not) of a “handset” performing a “seamless

handoff,” and thus Rezvani would only disclose a “headset” performing that

function. Appx2470 (Abstract); Appx2478 (FIG. 8); Appx2486 (claim 36).




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C.    BOSE’S PELLAND-BASED GROUND PROVIDES AN ALTERNATE BASIS
      FOR AFFIRMANCE.

      Bose’s Pelland-based ground provides an alternate basis for affirmance.

      1.      Absent priority, Pelland is anticipating prior art.

      Absent written-description support in the Priority Applications, the

challenged claims enjoy priority no earlier than the ’155 patent’s own 2018 filing,

making Pelland anticipating prior art. Lockwood v. Am. Airlines, Inc., 107 F.3d

1565, 1571 (Fed. Cir. 1997). Koss does not dispute this. Appx505-508; Appx53.

      2.      Priority is lacking because the Priority Applications only disclose
              transitions due to lost connection.

      The ’155 patent and the Priority Applications—including Pelland—all share

the same specification. In evaluating whether the Priority Applications support the

’155 patent claims, Bose cited to the ’155 patent specification (Appx196), while the

Board cited to Pelland (Appx52-59); for simplicity on appeal, Bose will follow the

Board’s approach and cite to Pelland.

      The Priority Applications uniformly describe a “transition” from a first

network to a second network that occurs when an earphone(s) goes “out of range”

of the first network such that the earphone cannot communicate satisfactorily with a

DAP over the first network. Appx1909-1927 (1:24-26, 5:26-30, 6:9-13, 11:32-12:2,

12:10-14, 13:7-15, 13:19-23, 16:29-32, 17:8-14, 17:19-25, 18:15-21, 18:32-19:4,

19:14-28).



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        The Priority Applications also repeatedly describe transitions due to lost

connection as “the present invention” (Appx1909 (1:22-26), Appx1924-1927

(16:20-33, 18:6-21, 19:10-16)), which negates possession of a broader invention.

Research Corp. Techs. v. Microsoft Corp., 627 F.3d 859, 872 (Fed. Cir. 2010)

(written description lacking for claims broader than what specification called “the

present invention”).

        Dr. Williams explained that transitions for other reasons (e.g., because a

second network provides higher-priority audio) are not only absent from the Priority

Applications; they would be inconsistent with the patent’s focus on addressing lost

connections. Appx1329-1336 (¶¶ 95-99).

        Accordingly, the Priority Applications do not “clearly allow” POSAs to

recognize that the inventors possessed a “transition” not based on lost wireless

connection—let alone one based on audio-source priority, which is never mentioned

in the Priority Applications, but which Koss nonetheless contends its claims

encompass. Ariad, 598 F.3d at 1351; ICU Med., Inc. v. Alaris Med. Sys. Inc., 558

F.3d 1368, 1378 (Fed. Cir. 2009) (specification described “only medical valves with

spikes” while claims covered “medical valves generically”); LizardTech, Inc. v.

Earth Res. Mapping Inc., 424 F.3d 1336, 1344 (Fed. Cir. 2005) (“specification

provide[d] only one method” while claims covered others); Appx186; Appx3782-

3788.


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      3.    The Board’s contrary determination lacks support.

      In reaching a contrary conclusion, the Board could not cite any testimony from

Koss’s expert, who did not address the Pelland ground at all. Appx8762-8789.

Instead, the Board cited Koss’s attorney argument regarding Figure 6 of the Priority

Applications. Appx55 (quoting Appx505-506); see also Appx58. That figure

depicts a “process” for implementing the invention’s “transition automatically”

functionality. Appx1910; Appx1920-1922 (12:24-14:2).

      Koss’s attorneys summarized Figure 6’s process as follows:

      “[W]hen the headphone assembly is not communicating via an ad hoc
      wireless network (block 61), it can transition to a highest priority
      infrastructure wireless network (block 63) and keep transitioning to
      other infrastructure networks by priority order when the current
      infrastructure wireless network is not ‘ok’ (block 65, feedback back to
      blocks 61 and 63).”

Appx505-506 (citing Appx1920-1921 (12:24-13:19); Appx1947 (Fig. 6)).

      The Board agreed with Koss’s description (Appx55) and said the Priority

Applications’ reference to “highest priority” networks confirmed that the Priority

Applications “describe transitions based on network priority.” Appx58. However,

the Board (and Koss’s attorneys) fundamentally misapprehended the passage.

Appx1921 (13:7-22).

      As Bose’s emphasis above highlights, even Koss’s description of Figure 6

recognizes that the headphone’s transition to a “highest priority” network only

occurs when the headphone is “not communicating” with its original network

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connection or that connection is “not ‘ok.’”           By Koss’s own admission, the

headphone considers priority when determining to which second network it will

transition, but the only factor the headphone considers when determining whether

to transition is whether its current network connection has been lost. Only the latter

determination is relevant to the “transition automatically” element of limitation

[1.g]. Dr. Williams corroborated this understanding of Figure 6, and Koss offered

no rebuttal. Appx7808-7810 (¶¶ 39-42). Contrary to the Board’s interpretation,

therefore, Figure 6 only reinforces the lack of any support for transitions for a reason

other than lost network connection. No other interpretation of Figure 6 is plausible.

      The Board said Dr. Williams testified that POSAs would have understood that

network transitions can be based on audio priority. Appx58 (citing Appx1330-1332

(¶ 96)). But the cited testimony squarely says that “[t]he common specification

never suggests” such transitions. Appx1330-1332 (¶ 96). That audio-priority

transitions might be an obvious implementation of the “invention,” does not

contradict Dr. Williams’ testimony that such transitions are not disclosed.

Lockwood, 107 F.3d at 1571-72 (“Entitlement to a filing date does not extend to

subject matter which is not disclosed, but would be obvious over what is expressly

disclosed.”).

      The Board also relied on Koss’s representation that generic statements in the

Priority Applications—that “other wireless communication protocols may be used,”


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and that Figure 6 describes “various embodiments of the present invention,”

Appx55-56—somehow offer written-description support for claims covering

transitions based on factors other than a lost network connection. That various

wireless communication protocols may be used says nothing about the reasons for

transitioning between networks. Appx7811 (¶ 43). That Figure 6 describes “various

embodiments” is simply irrelevant since no other embodiments are disclosed.

D Three Enters., LLC v. SunModo Corp., 890 F.3d 1042, 1051 (Fed. Cir. 2018)

(“boilerplate language” is “not sufficient to show adequate disclosure”).

      There is no disclosure in Figure 6, or anywhere else in the Priority

Applications, of a transition between networks that occurs for a reason other than a

lost connection to the first network—a fortiori there is no disclosure of a transition

that occurs because audio from one network has higher priority than audio from a

second network, which is the functionality Koss accused of infringement.

Appx3672 (¶ 72); Appx3788.

      This case presents a common scenario, in which a patentee initially pursues

claims directed to the invention described in the specification, then years later

secures broader claims, unsupported by the specification, for the purpose of accusing

others of infringement. Koss originally (and repeatedly) claimed an earphone that

transitions from a first network to another “when the data source is not in wireless

communication with the earphone via the [first] network.” Appx1775-1780 (initial


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PCT application); Appx1825-1826 (first U.S. patent); Appx1839-1840 (first

European patent); Appx7883-7884 (depicting timeline). It was only a decade later

that Koss sought and obtained the broader claims it now argues cover transitions

based on audio-source priority, a technology nowhere described in the Priority

Applications. In similar scenarios, this Court has found written description lacking.

See, e.g., Synthes USA, LLC v. Spinal Kinetics, Inc., 734 F.3d 1332, 1341 (Fed. Cir.

2013) (claims reciting genericized “openings,” filed five years after earlier claims

reciting “grooves,” lacked written-description support); ICU, 558 F.3d at 1377

(“spikeless” claims, filed “years later during prosecution,” lacked written description

where specification repeatedly touted spikes and earlier claims required spikes).10

Because claims 11-12 lack written-description support in the Priority Applications,

Pelland is prior art and anticipates the claims.




10
     The Board referred to the now-defunct “late claiming” doctrine when addressing

Bose’s argument. Appx59; Westphal v. Fawzi, 666 F.2d 575, 577 (C.C.P.A. 1981).

Written description is a completely different issue, and this Court has frequently

noted the delay in presenting broad claims in cases where such claims were found to

lack written-description support.


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                                 CONCLUSION

      Either because the Board’s treatment of the Rezvani-based ground was correct

or, alternatively, because the Board’s rejection of Bose’s Pelland-based ground was

erroneous, the Final Written Decision should be affirmed.


                                        Respectfully submitted,

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       I, Michael N. Rader, counsel for Appellee, certify that the foregoing brief

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      I hereby certify that a true and correct copy of the foregoing Response Brief

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